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                EXHIBIT
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From:            David Morgan, Publisher
To:              Mags_Everette@azd.uscourts.gov
Subject:         [EXTERNAL] Fed Court Rules - Records and Criminal Trial Exhibits
Date:            Wednesday, October 25, 2023 9:47:11 AM


Good morning Ms Everette,

I expect to obtain counsel in this matter. I still haven't found the rule(s) which would permit
the impediments to public access created by the procedures you describe.

With whom should I communicate in the Clerk's office to learn upon which rule they rely?

See below for at least one quickly located example of exhibits made publicly available by the
court during trial - in 2006.

Please advise.

Thanks,

DMM

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United States v. Zacarias Moussaoui
Criminal No. 01-455-A

Trial Exhibits

The following web pages link to all 1,202 exhibits admitted into evidence during the trial of
U.S. v. Moussaoui, with the exception of seven that are classified or otherwise remain under
seal. This is the first criminal case for which a federal court has provided access to all
exhibits online.

The exhibits were posted on July 31, 2006.

https://www.vaed.uscourts.gov/101cr00455-trial-exhibits

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65 FEDERAL RULES OF CRIMINAL PROCEDURE

Rule 55. Records

The clerk of the district court must keep records of criminal proceedings in the form
prescribed by the Director of the Administrative Office of the United States Courts. The clerk
must enter in the records every court order or judgment and the date of entry.

https://www.usgovernmentmanual.gov/Agency?
EntityId=nbKrEPzeztc=&ParentEId=+klubNxgV0o=&EType=jY3M4CTKVHY=
          Case 2:18-cr-00422-DJH Document 1948-4 Filed 11/08/23 Page 3 of 3


(As amended Dec. 27, 1948, eff. Oct. 20, 1949; Feb. 28, 1966, eff. July 1, 1966; Apr. 24,
1972, eff. Oct. 1, 1972; Apr. 28, 1983, eff. Aug. 1, 1983; Apr. 22, 1993, eff. Dec. 1, 1993;
Apr. 29, 2002, eff. Dec. 1, 2002.)

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David M Morgan, Publisher
Capitol Times Interview - Q&A (15min video)
member of IRE - Investigative Reporters & Editors
SJP (Arizona) 2023 Awardee - Order of the Silver Key Society
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